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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


 UNITED STATES OF AMERICA                  §
                                           §
 v.                                        §         Criminal No. 4:21-cr-00009
                                           §
 ROBERT T. BROCKMAN                        §


                 DEFENDANT ROBERT T. BROCKMAN’S
               NOTICE OF SUPPLEMENTAL INFORMATION
            RELEVANT TO THE COMPETENCY DETERMINATION

       Defense counsel respectfully provides the Court notice of a material deterioration

in Defendant Robert T. Brockman’s cognitive condition since the conclusion of the

November 2021 competency hearing.

       Mr. Brockman contracted COVID-19 in December 2021, and was hospitalized in

January 2022 with acute prostatitis and toxic metabolic encephalopathy, a condition of

acute global cognitive dysfunction. Research shows that these conditions are associated

with accelerated cognitive decline for dementia patients. Following these significant

medical events, Mr. Brockman was reexamined by his primary care physician, his treating

neurologist for Parkinson’s disease, and the defense’s expert neurologist.          These

examinations confirm that Mr. Brockman’s cognitive function has declined, and that his

dementia has progressed at an accelerated rate.

       During the competency hearing, experts for both the government and the defense

agreed that Mr. Brockman has Parkinson’s disease—a permanent, progressive, and

incurable neurodegenerative disease that only leads to further deterioration. See Dkt. No.


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239 at ¶ 7 and citations therein. Experts for both parties agreed that Parkinson’s disease

often results in dementia. Id. The weight of the evidence presented during the hearing

established that Mr. Brockman suffers from dementia, most likely caused by Parkinson’s

disease and Alzheimer’s disease. Id. at ¶¶ 45–46, 151 and citations therein. That record

alone supports the conclusion that Mr. Brockman is not competent to stand trial.

       But over four and a half months have passed since the competency hearing, and

Mr. Brockman’s condition has deteriorated at an accelerated pace. Courts “must always

be alert to circumstances suggesting a change that would render the accused unable to meet

the standards of competence to stand trial.” Drope v. Missouri, 420 U.S. 162, 181 (1975).

This principle is embodied in the statutory requirement that the Court consider competency

“[a]t any time after the commencement of a prosecution for an offense and prior to

sentencing[.]” 18 U.S.C. § 4241(a).

       Recent medical events and examinations by treating and expert physicians confirm

that Mr. Brockman’s cognitive function has declined, and provide further support that he

is incompetent to stand trial. In the alternative, at the very least, these latest events counsel

in favor of an independent competency examination by neutral experts to assess

Mr. Brockman’s present cognitive ability.




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I.      MR. BROCKMAN’S DEMENTIA HAS DETERIORATED, FURTHER
        SUPPORTING THAT HE IS INCOMPETENT TO STAND TRIAL

        Mr. Brockman contracted COVID-19 in December 2021, and he was hospitalized

in January 2022 with acute prostatitis and toxic metabolic encephalopathy (“TME”).

Loonam Decl. ¶ 2, Exhibit 1 at 1.1 Among older patients with preexisting dementia, TME

is associated with COVID-19. For patients already suffering from dementia, COVID-19

and TME can exacerbate the existing dementia and accelerate cognitive decline. Id. at 1–

2.

        During a February 15, 2022 examination by Dr. James Pool, Mr. Brockman’s

primary care physician, neuropsychological testing was performed to assess Mr.

Brockman’s current cognitive status. See Loonam Decl. ¶ 3, Exhibit 2. Dr. Pool concluded

that Mr. Brockman’s condition had progressed to severe dementia. See id.

        Dr. Eugene Lai, Mr. Brockman’s treating neurologist for Parkinson’s disease,

conducted a neurology follow-up visit on March 10, 2022. See Loonam Decl. ¶ 4, Exhibit

3. After a physical and neurological examination, Dr. Lai again stated his diagnosis that

Mr. Brockman has Parkinson’s disease and dementia caused by both Parkinson’s disease

and Alzheimer’s disease. Id. at 3. Dr. Lai noted that Mr. Brockman’s “cognitive function

has deteriorated since his last visit” in October 2021, that his “[n]eurological and cognitive

examinations are worse compared to his last visit,” and that his “[m]emory is progressively

declining.” Id. at 1, 3.



       1
         “Loonam Decl.” refers to the Declaration of James P. Loonam made in support of Defendant Robert T.
Brockman’s Notice of Supplemental Information Relevant to the Competency Determination.



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       Following Dr. Lai’s examination, defense counsel requested that Dr. Thomas

Wisniewski review recent medical records and provide an updated assessment of Mr.

Brockman’s cognitive condition. Dr. Wisniewski is a neurologist and the director of the

New York University Alzheimer’s Disease Center. Dr. Wisniewski previously examined

Mr. Brockman in October 2021, and he testified as an expert witness during the

competency hearing. See Dkt. No. 239 at ¶ 71 and citations therein.

       After reviewing Mr. Brockman’s recent medical records, Dr. Wisniewski conducted

an interview and examination of Mr. Brockman via WebEx on April 1, 2022, and provided

an updated letter. Loonam Decl. ¶ 2, Exhibit 1. During the examination, Mr. Brockman

did not recognize Dr. Wisniewski, he exhibited deficits in several critical cognitive

domains, and he was disoriented and confused. Dr. Wisniewski’s examination revealed

that Mr. Brockman’s condition deteriorated significantly since October, and that his

dementia has progressed, likely due to recent medical events and his preexisting

neurodegenerative diseases. See id. at 2.

       Dr. Wisniewski also interviewed Frank Gutierrez, Mr. Brockman’s caregiver.

Mr. Gutierrez reported that Mr. Brockman’s condition has worsened in recent months, and

that Mr. Brockman requires assistance with all activities of daily living, which corresponds

to a clinical diagnosis of dementia. See id.

       Dr. Wisniewski concluded that Mr. Brockman’s cognitive function has declined,

and the neurodegenerative process has accelerated.        As Dr. Wisniewski explained,

“COVID-19 can accelerate pathological pathways in the brain that drive cognitive




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dysfunction and Alzheimer’s disease related pathology,” especially when a patient also

suffers from TME. Id. at 2.

       Thus Dr. Wisniewski opined: “In summary, it is my opinion that Mr. Brockman’s

dementia has significantly progressed since my October 2021 assessment.                 This

progression of cognitive dysfunction is partly what is expected over time; however, in this

case there was an acceleration of the process due to COVID-19 and a January 2022 hospital

admission with TME.” Id. at 2. Dr. Wisniewski concluded that Mr. Brockman’s prognosis

is poor, and that “[t]here is no expectation that he will recover cognitively.” Id.

       These recent medical events and examinations provide further support for a finding

that Mr. Brockman is not competent to stand trial.

II.    IN THE ALTERNATIVE TO REACHING A COMPETENCY
       DETERMINATION, THE COURT SHOULD APPOINT NEUTRAL
       EXPERTS

       Mr. Brockman cannot be found competent to stand trial based on the current record

and recent significant medical events. As set forth in our prior briefs, the government bears

the burden to prove competency and it cannot do so. Dkt. No. 239 at ¶¶ 133–35. But if

the Court were previously inclined to find Mr. Brockman competent, we submit that recent

events and examinations counsel in favor of an independent examination by neutral experts

pursuant to Title 18, United States Code, Sections 4241(b) and 4247(b). See Dkt. No. 239

at ¶¶ 152–53, 155 and citations therein.




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                            CERTIFICATE OF SERVICE

       I certify that on this 13th day of April, 2022, I electronically served this document

on all counsel of record.



                                             /s/ Jason S. Varnado
                                             Jason S. Varnado




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